c

Caseasd £03093 GE aDOSUMEBLA Ae ATED PRLAAUEA A DHRP RACH ES of 4

UNITED STATES DISTRICT COURT United States Courts

Southern District of Texas
FILED
SOUTHERN DISTRICT OF TEXAS MAY 15 2019
HOUSTON DIVISION David J, Bradley, Clerk of Court

UNITED STATES OF AMERICA

vy.

CRIMINAL NO. 19- 3 64
ALDO ROGOBERTO GUERRA-GUEVARA
AKA Primo, AKA Servando

  
 

 

GH? (O) Wh) CO) th Gh LOD thn to un LD UN UM CODE

INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE
(Conspiracy to Possess With Intent to Distribute Controlled Substance)
From in or about October 2018, and continuing through at least February 2019, in the

Southern District of Texas and elsewhere Defendants,

ALDO ROGOBERTO GUERRA-GUEVARA, aka Primo, aka Servando,

did knowingly and intentionally conspire and agree with each other and with other persons known

and unknown to the Grand Jurors to possess with intent to distribute a controlled substance. This
rr”

Casas 9:3980360 368 ADEDUMpEtathehtiled PmeAWR YEA HH OIPPrxRAPe AGES of 4

offense involved a quantity of at least 5 kilograms of a mixture containin & cocaine, a Schedule IJ

controlled substance.

In violation of Title 21, United States Code, Sections 846, 841(a)C1) and 841(b)(1)(A).

COUNT TWO
(Conspiracy to Launder Monetary Instruments)
From in or about October 2018, and continuing through at least February 2019, in the

Southern District of Texas and elsewhere Defendants,

 

did knowingly and intentionally combine, conspire, confederate, and agree with each other and
with other persons known and unknown to the Grand Jurors to transport, transmit, and transfer,
and attempt to transport, transmit, and transfer monetary instruments and funds involving the
proceeds of specified unlawful activity, to wit: the manufacturing, importation, sale and
distribution of a controlled substance and possession with intent to distribute a controlled substance
as detailed in this Indictment and in violation of the Controlled Substances Act, knowing that such
transportation, transmission, and transfer was designed in whole or in part to conceal and disguise
the nature, location, source, ownership, and control of the proceeds of specified unlawful activity.
In violation of Title 18, United States Code, Sections 1956(a)(1)(B) and (h),

NOTICE OF CRIMINAL FORFEITURE
[Title 21, United States Code, Section 853]

Pursuant to Title 21, United States Code, Section 853, the United States gives notice to the

defendants
Caseane d:d9088938E:ADooHMEBba themed GAYA YSA sOSPr Rape OLS of 4

ALDO ROGOBERTO GUERRA-GUEVARA, aka Primo, aka Servando,

 

that upon conviction of the conspiracy as charged in Count One in this Indictment, the following

is subject to forfeit:

(1) alf property constituting, or derived from, any proceeds obtained, directly or indiréctly,
as the result of such offense; and

(2) all property used or intended to be used, in any manner or part, to commit, or to facilitate
the commission of such offense.

Money Judgment
Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture for which the defendant may be jointly and
severally liable. The amount of the money judgment for Count One is estimated to be, but is not
limited to, at least $12,000,000 for which the defendants may be jointly and severally liable.
Substitute Assets
Defendants are notified that in the event that property subject to forfeiture, as a result of
any act or omission of a defendant:
cannot be located upon exercise of due diligence;
has been placed beyond the jurisdiction of the Court;
has been transferred or sold to, or deposited with, a third party;

has been substantially diminished in value; or
has been commingled with other property which cannot be divided without

difficulty;

coo op
Caseaba dd Qoeis8926E ADesUMEBbdtheiled PAU YEA M1 DIRP, Lape F964 oF 4

the United States will seek to forfeit any other property of the defendants up to the value of such

property pursuant to Title 21, United States Code, Section 853(p).

A TRUE BILL _

Original Signature on File

fa N

F@REPERSON OF THE GRAND JURY

RYAN K. PATRICK
UNITED STATES ATTORNEY
SOUTHERN DIST

By: <2

EDWARD F. GALLAGHER
Assistant United States Attorneys
Southern District of Texas

   
